                                      Case 20-10343-LSS                             Doc 12042-1                 Filed 04/30/24          Page 1 of 32

                                                                                                                                                                      EXHIBIT

                                                                                                                                                                             A




Boy Scouts of America Claim Upload Confirmation
                                                                                                                                                                i,t    '.1
           documentsend@omnia gnt.com
           To bra@drndall.com
(f I there are problems with howthir mersag€ is disptayrd, dack h€rc to view it in a web brouser



                (cIiTTit
                  Your Sexual Abuge Survivor Proof of Clalm in the mall€r of Boy Scouls ofAmerica (Case # 20-10343) has boen succeesfully submifled-

                  CIaim ldenlifier: 7887661

                 You will receive a second emailvrith your claim number withln seven (7) calendar days.

                 As the doslgnaled clalms agent ln thls matter. Omnl Agent Solullons ls responslble lor malntalnlng the offlcial court docket. Pursuant to the Bsr Dale Order
                 [Dqgkgl Ng. 695J, Sexual Abuse Survivor Proofs of Clalm witl nol be available lo lhe public on the court doc&ot unlese you have elected on your clalm form to
                 publicly release your idenllly and your Sexual Abuse Survivor Prool of Claim.

                  lf you or someone you know did nol initiate this claim submittal, or if you have questions about lhe handling or processing of your claim, you should c{nlact
                  us at contact@omnlagnt,com.

                 Cllck hore to submlt anolher claim.


                                                                                              o omnl Ageol solulbns
                    Case 20-10343-LSS         Doc 12042-1        Filed 04/30/24    Page 2 of 32


                                                                            Roxanne Aranda <roxanne@dandell.com>
     .tudot t, bs


Proof of Claim submission confirmation in the matter of Boy Scouts of America
1 message

lsala Gray <igray@omniagnt,com>                                                            Tue, Nov 10,2020 at 2:53 PM
To: "bsa@dandell.com" <bsa@dandell.com>
Cc: BSAlnquiries <BSAlnquiries@omniagnt.com>


 The Sexual Abuse Survivor Proof of Claim in the matter of Boy Scouts of America (Case # 20-10343) has been
 successfully submitted as follows for your clen!:



 Case Number:               20-10343

 Debtor:              Boy Scouts of America




    Date Received      SA Claim No         Glaimant ldentifier


   1110512020 uTc          42642        8012068


   11t05t2020   urc        42638        7969788


   1110512020   urc        42641        7978761


   11105t2020 UTC          42648        7678029


   1110512020 uTc          42659        801 1 554


   11t05t2020 uTc          42682        7529660


   1110512020 uTc          42685        8034486


   1110512020 UTC          42701        7573206


   11t0512020 UTC          42712        8034331


   11t05t2020 UTC          42714        8034499


   1110512020   urc        42719        8025900


   11t05t2020 urc          42848        8034656


   11t05t2020 UTC          43313        7593301
                    Case 20-10343-LSS   Doc 12042-1   Filed 04/30/24   Page 3 of 32

 11t05t2020 uTc           43355     8030977


 11105t2020 UTC            43394    7460929


 11t05t2020 UTC           43414     7999146


 11105t2020 UTC           43432     7816544


 11105t2020 uTc           43451     801 5365


 11105t2020   urc         43493     80351 29


 11t05t2020 urc           43494     8021946


 11105t2020 UTC           43523     8033202


11t05t2020 UTC            43507    7379097


11/05t2020 UTC            44225    8030887


11t05t2020 UTC            44242    7827113


11105t2020 uTc            44304    796861 3


11105t2020 UTC            44355    7669068


1110512020 uTc            44393    7722111


11105t2020 UTC            44402    7509537


11t05t2020 uTc            44418    8031374


11105t2020 UTC           44444     7354399


11105t2020 UTC            44440    7887661


11t05t2020 uTc            44495    7678788


11t05t2020 uTc           44918     800051 3


1110512020 uTc           44964     803751   I

1110512020 uTc           44977     8036777


11105t2020 uTc           45032     7591745
                  Case 20-10343-LSS             Doc 12042-1        Filed 04/30/24        Page 4 of 32

  11t05t2020 UTC             44997         8036899


  1110512020 uTc             45046         8035578


  1110512020 uTc             45041         B02Bl 86


  11105t2020 UTC             45042         7897802


 1110512020 UTC              45070         8035283


 1110512020 uTc              45074         7440121


 11t05t2020   urc            45098         8035439


 1110512020 uTc             45177         8009582


 11t05t2020 UTC             45224         7601 005




As the designated claims agent in this matter, OmniAgent Solutions is responsible for maintaining the official court
docket. Pursuant to the Bar Date Order [Docket No. 695], Sexual Abuse Survivor Proofs of Claim will not be available to
the public on the court docket unless your client has elected on the claim form to publicly release their identity and their
Sexual Abuse Survivor Proof of Claim.



Click here to submit another claim.



lf you or someone you know did not initiate this claim submittal, you should contact us immediately at
contact@omniagnt.com.



lsala Gray

OmniAgent Solutions
        Case 20-10343-LSS                     Doc 12042-1            Filed 04/30/24             Page 5 of 32




lJallotlD: 244027                                                                                                     Votc Aurt: $1.

      No: 2{)-l0343
Dctrtor: Iloy Scouts ol'Antcrica
                                                                                                                       EXHIBIT
C:hrSchNo:41856




                               IN THE UNITOD STATES BANKRUPTCY COURT
                                                                                                                              L
                                    r.OR THE DISTRICT OF'DEI,AWARE


    In re:                                                            Chapter l1

    tsOY SCOUTS OF AMEI{ICA ANI)                                      Case No. 20-10343 (LSS)
    DELAWARE BSA, LLC,I
                                                                      (J ointiy Administered)

                                   Debtors.



                              BALLOT FOR CLASS 8 (DIRECT ABUSE CI,AIMS)

    PLEASB READ AND T'OLLOW THE ONCLOSED INSTRUCTIONS FOR
    COMPLETTNC YOUII BALLOT CAREITULI,Y REFORE COMPLETING THIS
    BAI,I,OT.

    YOJ MUST COMIT,ETB- F9UR (4) ITEMS ON rHIS BILLOr:
        1. VOTE TO ACCEPT OR NEJECT THE PLAN
        2. DECIDE WHETHER TO MAKE THE OPTIONAL $3,500 EXPEDITH,I)
             DISTTUBUTION trLECTION

        3. DECIDE WHBTHER TO OPT OUT OT'TI"IE TI-IIRD PARTY REI,EASB
        4, SIGN YOUR BALI,OT
    ACCESS TO SOLICIT$TIQI'I MATERIALS :

    THE T'I,AN, THE DISCLOSURE STATEMENT, AND TIIE SOI,ICITATTON
    PROCH,I}I-IRIS ORDER MAY BE ACCESSED, FREE OF CHARGE, AT
    IITTPS ://OMNIAGtrNTSOLUTI ON S.CON'I/BS A-SABALLOTS.

    YOU HAVT1 I(ECE,IVED A PAPER F'ORMAT OT'THESE MA'TNRIAI,S WITH THIS
    SOLICITATION I'ACKAGA. IF YOU NEED TO OBTAIN ADDITIONAL
    SOLICITATION I'ACKAGES, PLEASE CON:I]ACT OMNI AGENT SOLUTIONS
    (THB ,oW")                                                 By (A) CALLING TIIE DEBTORS',
    RESTRUCTURING HOTL,INE AT                                     866-907-2721, (B) EMAILING
    B S A BA L L o r s @ o M N I A G N r. c o M, (        c) wIrITI llC,Tq_EgY_[ q p-uJg-QI-4I4ERIlA

I     l'hc Debtors in these chapter l I cases, together rvith the last flour <ligits ofcach Debtor''s fedclal tax iderrtilicrtion
      rrulpber, are as lollotvst boy Sc6uts of Anrerica (6300)l and Delaware BSA, LI-,C (431 1). The I)ebtors' rnailing
      addless is 1325 Wesi Walnitt Hill Larte, Irvir:g, Texas 75038.




                                                                                  Doc lDr ad7 ae83ac5443a6dc27c7bfBb805fd4fbd3a0cff
      Case 20-10343-LSS                Doc 12042-1      Filed 04/30/24        Page 6 of 32




BallotlD; 244027                          L""di,ot,I                                            Votc Anlt: $ I
Case No: 20-l 0343

Debtor: Boy Soouts o1'Anietica


ClmSohNo: 41856




  BAILOTfROCESSiNG, C/O OMNI AGENT SOLUTTONS,5955 DE SOTO AVENUE,
  $IIITE 100, $QQDLAND'IIII,LS, CA 91361, OR (D) SUIMITTING,{N INQUIIIY ON
  THE          DEBTORS' RESTRUCTURING WEBSITE AT
 IITTPS I//OMNIAGENTS OLUTIONS.C OM/BSA.

 TIrI$ BALTOT MUST BE COMPLETED., EXECUTED, AND RETURNnD SO AS TO
 BE ACTUALI"{Y ITECEIYEp SY THE SOLICITATION AGENT BY 4:00 P.M.
                                 ONDECEMBER 14,2021            (v

                        ir nn,lBcr rHE PLAN' You wILL BE RELBASING
 THE RELEASED PARTIES FROM ANY AND ALL CLAIMS/CAUSES OF ACTION
 TO THE EXTENT PROVID,ED TN ARTICLE X,J.4 OF 'I]HE P[,AN UNLESS YOU
 (,oPT-0UT"0FsUCHRELEAsEs.v6ffi,rT.oUT,'oF$UcHRELEA.sEs
 AND YOU MUST INDICATE SUCH OOOPT-OUT'IN T}IE BALLOT.

          Pursuant tr: this ballot (this "Ballot"), the above-captioned debtors and debtors-in-
possession (together, the "Debtors") are soliciting votes from holders of Class 8 Direct Abuse
-Clri,r,
                                                        I
         on th; Modified Fdth Antendecl Chapter I Ptan oJ' lleorganizutirtrt for lloy Scouts oJ'
tlmerica utcl Delu.yvare BSA, LLC lD.T. 64431(together with all schedules and exhibits thereto,
alcl as may be rnodified, arlendecl, or supplcmcntccl fiorn time to time, the 'oPlan"), which is
described in greater detail in that certain disok:sure statometrt regarding the Plan, filed on
September lO, ZOZ1 [D.1. 6445] (together with all schedules and exhibits thereto, attd as may be
m;dified, amcnded, ol supplemented frorn time to time, tlte "Disglosure Statement'). Capitalized
telns used but not otherwise definecl herein have the meanings ascribed to such terms in the Plan
or the f)isclosure Statenrent, as applicable. On Septenrber 30,2021, the United States Banl<ruptcy
Court for the Distr:ict of Delawaie (the "Bankruptcy Court") entered an orcler [D.I' 6a38] (t]c
',solicitation-PrcgqSlulg$_..lQdg") approving the Disclosurc Statement as containing adequate
infomatlon under section I 125 of the Bankruptcy Code and the procedures for soliciting votes to
accept or reject the Plan (the "solicitation Procedulgg"), Bankruptcy Court approval of the
Disclosure Statement does not indicate approval of the Plan by the Bankruptcy Courl.

         The Plan provides for tirc issuance of a "Channeling Iniunctiou" pursuant to section I05(a)
of the Bankfuptcy Code, which is a rnechanisrn by which Abuse Claims will be cltanneled to a
Settlement Trust establisired pursuant to section 105(a) of the Banknrptcy Code. Fora descliption
of tlre causes of action to be enioinecl arrcl the it'lentities of the Entities that would be subject to
thcsc injunctions, see Article Vi,0 of the Disclosure Statement and Articlq X of the Plan, which
sets fbrtlr tlte terms of each of these provisions'

        The Debtors havo compiled a list of all potcntial Protected Parties and potctrtial Lirnited
protected parties uncler thc i,lan, inclucling tire iderrtitics of all Local Councils, Chartered
Organizations, antl lnsurance Companies. lf the Plan is confitmed, to the extent any suclt par:ties
pariicipate, they will bc incluclctl iu the definition of Protected Parties or Limiterl Protected Parties
and will benefit from the Channeling lnjunction. This iist of potential Protected Parties and
Limitccl protcctcd Parties is available at hitps://omniagentsolutions.com/bsa-SAballots. This list




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      Case 20-10343-LSS                   Doc 12042-1             Filed 04/30/24             Page 7 of 32




     ': Boy Scouts of America




 only includ es potential Protected Parties and Limited Protccted Partics-it does not mean
 that any such party will in lact become a Protected Party or Limited Protected Party under
 thc PIan.

          You are receiving this Ballot because you have asserted a Clainr against the l)ebtors that
arises from Abuse2 that occurrecl prior to the Petition l)ate (as deiined in the Plan, a "Dirqct Abuse
Claim"). Your Dircct Abuss Claim is classified undcr thc Plan in Class I (Direct Abuse Clairns).
Accorclingly, yon have a right to vots to accept or rcject the Plan.

    IM                             zL'ftON I{IIGARDING THE ELIICTION I'O RECEM AN
                                EXPEDITED DISTRIBUTION OF $3,500.00r

        Each holder of I properly completed non.duplicative proof of clairn asserting aDirect
Ahuse Clalm who filert suctr Ctaim by the Bar Date or was permltted by a Final Order of the
Bankruptcy,Court to lile a late claim may elect at Item 3 of this Ballot to receive an Expedited
Distribution, which, as specified in the PIan, is a one-time Cash paymentfrom theSBtttrement
Trust in the ampunt ol'$3,500.00 cOnditioned upon sati$faction of the criter,in set f0rth in the
T'rust Distribution Procedures, in exchange for. a lhll and llnal release in favor ot' the
Settlement Trus[ the Protected Parties and the Chartered Organizations.

         The Settlement Trust shall make the Expedited Distributions on,or as soon as reasonably
practicable aftegthe latest to occur: of (a) the Effective Date, (b) the date the applicable holders of
bir:ect Abuse Claims tvho have electect to receive an Expedited Distribution have satisfied the
criteria set fofth in tho Trust Distribution Ptocedures, and (c) the date upon which the S.ettlement
Trust has sufficient Cash. to. fund the firll arnount of tho Expedited Distributions while retaining
sufficient Cash resei:ves to fund app-licable Settlemeut Trust Expensesf as determined by the
Settlement'pUstee. lllhis e.Iection must be mada on a properly and timely completed and
delivered Ballot in accordsnce with the instructions set forth fterein, and shall only be
effective if the Plan is confirmed and the Effective Date occurs.

    IF SELECTING THE $3,500 OPTION, YOU MUST INDICATE TIIIS ON THIS
BALLOT. YOU WILL NOT BE ABLE TO CHOOSE THIS OPTION AT A LATER DATE
UNLESS THE. COURT ATPROYES OTHERWISE.




2 ,.Abuse,, nreans scxual contluct or nrisconrluct, sexual abuse or molcstation, sexual exploitation, indecent assanlt
    o,.buttr.y, ra1re, pe<lophilia, ephcboptrilia, scxually relatecl psychological or entotional harm' hurniliation, anguish,
    shock, si&ness,-ctisease, UisaUitiryjUysfunction, or iutimirlation, atty other sexttal rnisconduct ol injury, cortacts
    or irrteractions of a sexiral naturi'inclucling the use of photography, video, or digital media, or other physical
    abuse or bullyirrg or harassment without re[ard to whetlier such physical abus,] or bullying is of a sexual nuture,
    between a cnltd a6a an adult, [etween a chlld and arrother chitd, or betrveen a non-coosenting adult and another
    adult, iu each instapce rvithout regard to rvhether suclr actir,ity involved explicit force, whether such activity
    involved genital or other physical ionfacr, nnd whether there is or was arly associated physical, psychological, ot:
    emotional hamt to the child or llon-colrsellting adult,




                                                                              Doc lD: ad7aeB3ac5443a6dc27c7bf8bB0Sfd4fbd3a0cf7
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BallotlD: 244027                                                                                 Vote Anrl: $ I
(lase No: 20" I 034.1

Debtor; Boy Scouls o1'Anterica


ChnSchNo: 41696



       Your rights are described in the Disclosure Statement for tire Plan and the Solicitation
procedures Order. This Ballot may not he used l'or any purpose other than for casting votes
to accept or reject the Plan and making certain electiotts and certificatiors with rcspect to
ttre plan. If you Selieve you have received this Ballot in error, or if you believe that you have
received the wrong Ballot, please contact the Solicitation Agent irumediately via the contact
inf'ormation set lbrth above.

        If the Irlan is confirmed by the Bankruptcy Court, it will be binding on you rvhether
or not you vote or if you vote to reject the PIan. To have your vote counted, you must complete,
sign, ancl return this Ballot to the Solicitation Agent by the Voting Deadline.

         If you votc to accept ol reject the Plan, you will be deemed to provide the releases in Article
X..J.4 of tire Plau ancl as set forrtr belotv unless yor] opt out of such releases. You may check the
box below to opt out of the releases in Arfjcle X.J.4 of the Plan. Please be advised that the Plan
aiso contains injunction ancl exculpation piovision$, certain of rvhich are set forth below. If the
Plan is confirmid by the Bankruptcy Court, these sections will be binding on you whether or not
you elect ro opt out of the releas*i in article X..I.4 of the Plan by this Ballot. For a full dcscriptiorr
of th"r. prr:visions, scc Artiple VI.0 ofihs Disclosure Statemerrt and $g!!g!gX of the Plan, which
sets forth the terms of each of these provisiotls,

       You should carefully review the Disclosure Statemetrt and the Plan, including the
Plan's injunction, exculpation, and release provisions, as thc rights of holdcrs of Direct
Abuse Claims may be oft'ect.d thereunrler. You may wish to seek legal advice concerning
the Plan and the Plan's classification and trcatment of your Claint.

                                 fRemainder r{'Page Intentionally Le/i BlankJ




                                                      4


                                                                   Doc lD: ad7 ae$3ac5443a6dc27c7bf8b805fd4fbd3a0cf./
     Case 20-10343-LSS              Doc 12042-1         Filed 04/30/24         Page 9 of 32




         244027                         Creditor:                                                VotcAmt: $1.00
    No:20-10343
      Boy Scouts of Alerica


          41 856




  PLEASE READ THE ATTACHED VOTING INFORMATION AND INSTRUCTIONS
                  BET'ORE COMPLETING THIS BALLOT

                        trcanln ITEMs BELow. PLEASE FILL IN AtL
 oF THE INFORMATION REQUpSTEIT UNDER ITEM 4. lF TIIIS BALLOT HAS
 NOT BEAN PROPERLY SIGNED IN II]HE SPACE PROVIDED, YOUR VOTE MAY
 NOT BE VALID OR COUNTED AS HAV{NG BEEN CAST.

Item 1. Amouttt of Claim.

       For purposes of voting to accept or reject the Plan, the unclersignecl certifies that as of the
Voting Recorrl Date, the undersigned holds a Direct Abuse Clairt in the amount set fbrth below.
please lote that, except as otherwise m{ry be set forth in the Disclosure Statement and
Solicitation Procedurei Orfler, each f)irect Abuse Claim in Class I has been temporarily
allorved in the amount of $1.00 for voting purposes only, and not for distribution, allowance,
or any other purpose.


          Debtor:               Boy Scouts of America

          Claim(s) Amount; $t


Item 2. Vote on the PIan.

        Please votc cithsr to acccpt or to rejeot thc Plan with respect to your Clairns in Class 8
below (please check one). Any Ballot not inarked either to accept or rejecl the Plan, or matked
both to accept and to reject the Plan, shall not be countecl in determjning acceptance or rejection
of the Plan,

         Prior to voting on the Plan, please note lhe following:

         If'you vote to accept or reject the Plan, you shall be cleemed to have consented to the release
sot forth iu Arricle X.J.4 r:f the p[an unless you opt out of the releasc by checking the box in Itcm 4
below.




                                                                   Doc lD: ad7ae83ac5443a6dc27c7bf8b80Sfd4fbd3a0cf-/
      Case 20-10343-LSS                    Doc 12042-1              Filed 04/30/24            Page 10 of 32




DeLrton Boy Soouts olAmetica


91n,5.1',Po 41856



         if you abstain from voting, you shall not be deenred to have consentecl to the release
provisions set forth in Artisle X,JZ of th. Plun, The Disclosure Statement and the Plan ntust be
iefer.elcecl fb, u           dmffion of the releaseo injunction, and exculpation provisions ilt
Arti-qle X of the Plan.
                        "o*pGt.

             Check onlv one box:

                                ACCEPT (/..8 VO"IE IN ITAVOIT OF) the PIan
                                            '
                                REJUCT (/.8, VOTE AGAINST) the Plan


Itern 3. Bxpedited Distribution Election.

           please note that if yog make the Expedited Distribution election set forth in Item 3, you
nrnst still complete the remaining Items on this Ballot.


    If gre plan is Confirmed :as, set forth above, the hokler of arr etigible llirect Abuse Claim
    HLECTS.toT

                      Receive ttre Expedited Distribution of fl one.time Cash paymsnt from the
                      Settlement frust in the amount of :$3,500.00 condttioned upon satisfacti0n
                      of tho criteria set forth in the Trust'Distribution Procedures, in exchange
                      for a full and llnfll rolea$e in lhvor of the Settlement Trust, the Protected
                      Parties, tnd the Chartered Organizations.

Itep,,{. Optlonal Release Elec-tion,

       Unless a holder of a Class I Clalrn who votes t0 raccePt or rejeet the Plan opts out of
tle Releaset by holders of Claims sot for.th belowo suclt holder sh:all be deeur*ed to' have
consented to the reteases containod.tn Article,X.J.4 of the Plan, whlelr provldes'as'follows:

Article X.J.4 of the Plan-Relcases bv Holders of Claims'

        As of the Effective llatg, except for the rights that remnin iir offcct frorn and aller the
Effoc.tive Ilate to ,enforce the Plan and the. Cinfirmation Order, for good and valuable
considet'ation, the         ;;qr";r-ri
                                    rulrtrr i* rt*.nv confirmed, including the service ol                                   lI'
i*runr.a   pariies3 to faiiiitate and implement the, reorganlzation of the Debtors and tlte

I     ,.Released parties"
                          nreans, collectively, the followitg Persotts, in each case_ in its or their respective capacities as
      such: (a) the Detrtors; (b) Reorganizei'USe; (c).in thc-Related Non-f)ebtor llntit'ies; (d) the Crectitt>rs' Con.rnrittee;
      (e) the menrbers ol.the ireditois' Comrnittee       thcir capacities as such; (f ilre Tort Claitnants' Cornmittee; (g)
      thc ilrenrbers ofl the l'ort Clairnants' Corrmittee in their capacities as such; (t1) the Irutute
                                                                                                           -Clainiants"
      ltcpresentativc; (i) t1e coalitiorr; (i) JPM; (k) thc settling lnsuance. con:lpanies, including Har^tfold; (l) the
      Contr.ibuting Charterecl Orguriruiio,i*, lrclr',cll,rg TCJC; (ui) the Foundatiort, in its capacity as lcrtdcr under tltc




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                                                                                      I
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            244027                              Creditor:                                                            Vote Aurti $1.00
     No: 20-1034.1
Debtor: Boy Scouts olAnterica


CInSchNo:



settlements embodiedin the Plan, includlngthe JPM / Creditorst Committee Settlement, the
Ilartford Insurance Settlement, and the fL'.lC Settlemento 4s an integral component of the
plan, and excopt as otherwise expressly provlded in the Plan or the Confirrnltion Order' to
the maximum extent permitted unOei applicable law, as. such law may be exterded
suSsequent to the Etl'eciive Date, all Releasing Claim Holdersa,shall, and slrall be decmed ton
expre;ly, corrclusively, ,absolutelyi uncondiiiondly,'irrevocably' and f0r,evex release and
disctrarge each and *il'of tho Rel-eased Parties of and fi'om any and all Cllims, Interests,
obligati[ns, rights; demands, suits, judgrnents; damages, debts, remedies, IosseS and
IiaUiiities of any uaturc whatsoever lilrctudtng any derivative claims or Causos of Action
asserted or thaf m*y be asserted on behalf of tlie Debtors, Reorganized BSA, nr
                                                                                lhl Estates),
 whether liquidntcd or unliquitl-ateil, Iixed or con(ingent, matured ov unmatured, known or
 unknown, lo.e*een or unforeseen, existing or hereinafter arlslng, in law, equlty, contract,
tort ,r otherwise, based on or relaiing to, ir in any manner arising from, in whole or in part,
any act, omisslon, transaction, evsnt, or other circumstance taking place or existing on or
 before the Efl'ective Date (including before the Petition Date) in connection with or relatetl
to the Debtors, the Estates, their rel-pectivo assets and properties, the-Chaptet'11 Caees, the
subject matter of, or thc,transactions or events giving rise to, any Claim Qr Intefest that is
treated 5v the Plan. the business or contractual :arrangemsnts lietween one or both of the
Uentors anO any lteleased Party, the restructuring of any Claim or Interest that is treated
fy ifre Plan belore or during the Chapter l1 Cases, any of the Plan Documents, the JPM /
ireditorsl Cornmittee Settleirent, the i{artford Insurance Settlement, the TCJC Settlement,
or any related agreements, instruinents, and other documents created oI entered into bel'ore
or during the Chaptcr l1 Cases or thc ncgotiation, formulation, preparation or
implemeniation thereof, the pursuit 0f Confirmation, the adrni.nistration afid
imllenrentation of the PIan, the soiicitation of yotes with respect to the Ftan; the Distribution
of property under tlte Plann or any other act or omlssiotto transaction, agraemgnt, event, or
       'occurrence
ottrer               taking piuou on or before the Ef ective Date related or r:lating to the
for.egoing; pr"iiA.q,lroi*y*t, that the releases sct forth in Aqtiple X*fr1 of the Plan shall not,
and shall not be .orr*t-1il.8-ii-i (a) release any Released P'arty from Causes of Action arising
out of, or related to, any.act or omission olaReleased Party that ls a criminal actor that

    Fouudatiou Loan Agreenregt; (n) the Ad I{oc Comrnittee; (o) the nrenrbers of the Ad }{oc Cotnlnittee in their
    capacities as srrch; tfrl ifr" Ci"Oit"i'Reprcserrtative; (q)                     (r) all of such Pers<xrs' Representatives;
                                                             'be thc Mediators; aud
    pro'idcd, however,"that no Perpetrator is or shail            a Rcleased Party; plovided llurther, that thc dc{lrrition ofl
    l,Released
               Parties" shall in all instarrccs he sutrject to Arliqle X,I of tlre Illan.
a   .,Releas-ing
                 Cllqinr Holdcr:" nleans, collcctively, (a) all holders of Claims that vote to accept the Plan and do ttot
         *,1                  r.t to,tt, in Afliels.XJ4 of the Plan; (b) all lioldeLs of Clairns that are plesumed to aacept
    "pt plan,"ft
    the        cxcept for holders or*r.t, ctni** that tile a timcly"oLjection to the releases set 1'trrth in Al:tiote X..l'4 oli
    the pla6; (c) all holrteLs ol'Claims entirled to vote on the Plan ,n,1 *ho vote against llre Plan and do not opt out of
    the releases set fbrth in Articts X...J.4 of the plan; and (d) all of such Persons' ptedecessots, successol's Blld assigus,
    subsicliaries, ,ffiliot.r,-IilIiln?         founer officeri,' dilcctors, principals, shareholdcrs, tnetlrbers, partnet's,
    e'rployees, agcnts, ailvisory boar<l lnornbers, financial atlviscrrs, attonteys, accotltltants, investnretlt bankers'
    constrltants, representatives, management cornpanies, and other professionals, and all such Persotts' respectivc
    heirs,executors,estates,serr'ants,riid,lonrin".i,intheilrespectivecapaciticsassuch.   NolrolderofaClainrina
    Class tlai is Itnpaired uldcr the Plan lvill be dcenred a'Rcleasing'Clairn I'Ioldcr" to the extcnt suclr holder
    abstained fronr voting.




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Casr: Nor 20-10343
Dcbtol l3oy Scouts ol'Anterica


ChnSclrNo:41856



    constitutes fraud, gros$ negligence or willful misconduct; (h) release nnf post'Effective Date
obtigations of any Person under the Plan Documents or any document, instrumcnt, or
ug.Ju*unt exccuted to implement the PIan; or (c) modlfy,.reduce, impair ol' otherwise aflsct
tfre ability oiuny holder oi'an Allowed Non-Abuse Littgatlon Clalm to recoYer on account of
suc6 Allowerl Clainr in nccordancc yr,ith Articte III.B.9 of the Plan, Nohryithstandirrg the
foregoing or anything to the contrilry trerein, (ii tith .respect to holders of Allowed General
Unsecurid Claims oi Allowed Non-Abuse Litigation Claims, nothing in the PIan or fhe
release set forth in Artidg X"J.{, of the Plan shaill or shall be construcd to, release any claims
or Causes of action against any Local Council, Chartered Organization (other than a
Contributing Chartorei Orgarrization), or Non-settling lusurance Complny (subiect to
a*ii*f. ry.df of the.Plan)ani (ii) notningin the Plan or the.release set tbr.th tn Ar:tlclg X.J.4
ffi.a[,orshrIli".on'i,u*dto,releaseanycIaimsorCausesofAct[onasscrtedby
Century Inderrnity Company agtinst Sidlgy Austin I.[.,P (o'$.ldl$v'?) related to Sidley's
representation ol'the Deo-tors prior to the Petitio[ Date.

           Ifyou voted tcr accept or reject the Plan in Item 2 above, check this box ifyou elect not to
grant the release contained in Articl.e X,J.4 of the PIan,

                                                 r:rcpresentativeofa1rolderof)aClass8Clainr,electSt0:

                     Opt out of thc third party release in Artlcle X.J.4 of the Plan,




Article X.F pf thq Plqn--:Clranneliqs Jniun9tiotr.

      Term$. Notrvithstanding anything to the contrary in t[e_ PIan,                and
                                                                      -to-preserve
pror.oiffiettlements contemplated by and provided for in e*IB:,_i,1.luding   the Alruse
btri*r Settlement, the Hartflorl lrsururce Scttlement, and the TCJC Settlement, and to
supplement, where necessary, the injunctive effect of the Discharge as provitled in sections
rrii   and Siq of *eBapt<ruptcy Code and as described in Article X of the PIan-, pursuant to
gre exercise of the equitalile jurisdiction and power of the Bankruptcy Court and the Disftict
Court under sectiorlgS(a1 if tne Bankruptc,y Code, (a) the sgle recourse of any holder of an
Ao-use Claim against a iriotectert arty in account of such Abuse Claim shall lle to nnd
agairstgre Settioment llrust pursuant to ttre Settlement Trust Documents,s and such holder
ufrutt rr"ra no right whatsoev& at any time to assert such Abuse Claim against any Protected
Party or any property or interest in property of any Protocted Party, and (b) the sole
,*.rurr* of aiy tioldir of a Post.lgZi itrariered Organizatlon Abuse Claim against a
,                                    ,'rneans,
      ,,$c-tllcu:.ex.L-l_rqs!._D_apgt.Ll,e,1.t
                                                collcctively, (a) the Settlenrent Trust Agreenreut, (b) the'lrust Distribution
      pt.ocedures, (.) tfre pocuniorri A,gre.nient, (d) thqConfir:mation Order, and (e) any other agreements, itlstlulnents
      and tlocurnents gor"*irit tl* esiirblishrneni, irdrninistr^ation and operation of the Settlenrent Trust, whioh sliall be
      substantially in the forurJset ftrrth as exhibits in the Pla[ or in the Plan Supplcment, as the sanre may tre utnended
      or nrodified fi.onr time to tirnc in accordauce with thc terms thereol,




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ClnrSchNo: 41955



Limited Protected Party on account of such Post-I975 Chartered Organization Aluse Claim
shall be to antl ngalnst the Settlemcnt "frust pur$uffnt to the Settlement Trust llocuments,
and such holdeishall have rno. right whatsoever at arry time to a$sert such Post'19-?5
Chartered Organization Abuse Ctairn agsinst any Limited Protected Party or &llf proporty
or interest in p1operty of nny Linritel Protected Partyi accofdingly, on and rafter'the
Effectlve Date, all Personr that have held or aoserted, curreutly hold or a$sert, or that may
in the lhture hold or assert, any Abuse Claim against the Protected Partiesr 0r'any of them,
or ,An1l Post-19?5 Chartered brganlzation Ahuse Claim agalnst the Limlted Protected
Partias, or any of them, shall be perrnanently and fofever stayed, restraified afld enjoined
from taking any :action for th.e purpo$e of dirgctly, indirectlyr or deriv:atively-collecting,
rscoveringfor receivlng paymer1t, catisfactlou, or recovery from any Froteeteil ]arty with
respect to any such Abuse Claim or l?om any Llmited Protected Party wlth respect to any
such Posfl9i$ Chartered Organlzation Abuie Claim, other than from the Settlement Trust
pursuant to the,settlement 'frust Documents, including:

                    iB"   gommencing, conductilig, or continuing, in any manner, whether
         directlyr lntllrectly, or derlvatively, any sult, actlon, or other proceedlng of any kind
         (includilrg a judicial, arbitration, adruirristrative, or other proceeding) in any t'mum in
         any JurisdicfiQn around the world agalnst or affectirrg any Prote-cted Party or Llmited
         Prltecteit Farty or any property oi interest in property of any Protected Party or
         Limited Protected Party;

                  b. enforcingr levylng, attaching (including nny prejudgment attachT*rt),
          coltecting of otherwise recoverin:g, by any manner or Ineans, either directly or
          indirectly, any judgrnent, award, decree, or order against or affeeting flny Protected
          Party oi'f"imite6 Protcctcd Party or any property or interest in property of atty
          Protected Party or l,,irnited Protected Party;

                     ,o. crentlng, perfecting, or otherwi$e.enforcing in any mannerr whether
          directly or indirectlyfnriy Encumbrance 0f any kind rgainst any ProJected Party or
          Ltmite6 Protected if*ty. or ffny property or interest in property of any Protected
          Party or Limited Protecteel PartY;

                 d. asserting, implementing oI' effectuating f,ny setoff, rtght of
          reimbursement, subrogation, indemnity, cotrtribution, reimbursenc}-t, .or
          rgcoupment of any kind,'in any manner,directly or indirectly, against any obligation
          due to any Protecied Party or Limited Protected Party or flny.property or interest in
          property of any Protected Party or Limlted Protected Party; or

                c. takilg any act in any ula[ner, and in any place whatsoeVer, that does
          not conform to, oi compty witn, tne provisions of the Plan Doeuments or the
          Setgement Trusi Documents or wiih regarrl to any matter that is within tho scope of
          the matter:s designated by the Plan to be subiectto resolution by the Settle.nrent Trust,




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Debtor: I3oy Scouts of Anelictr


ClnrSohNo: 41856



           except in confbrmity and compliance with thc Settloment Trust ,Documents with
           respict to any such.Abu$e Clatm or Post-1975 Chartered Organization Ahu$e Claim.

           Bp-seJvattonp. Notwithstandlng any-thlng to the contrary in Artiple X.F' of the Plan,
the Channeling Inlunctlon shall not enJolnt

                  ,r. the r:lghts 0f holtlers of Abuse Clalms or Post-1975 Chartered
           OrganizationAbuse Clairns to assertsuch Allu"re Cltims $ololy egalnstthe Settlement
           Trust,in accordance with the 'ftust Distribrrtion Procedures, iucluding the ability to
           pursue the Spttlement Trust in the tort system as dessribed in Article'Xfl of 'the Trust
           Dlrtribuflon Procgdures;
                      b,the rlghts of holders of Abuse Claims to assert such Abuse Clnims
           against anyone othei than a Protested Party or, in the case of Post-[975 Chartered
           drganization Abuse Ctaimsr against onyone other than a Limited Protected Party;

                      e,          prior to the date that an Entity (other than an fnsur:aneE Company)
           besomes aProiected Party uude.rArticleJvri of the Plan, the rlght of holders of Abuse
           Ctraims:to a$$ort such Abuse Clolms,agfllnst such Entity;,

                  d. prior fo t-he d-ate tlrat a Chrftered Organlzaiion becomes a Linrited
          Protected Parly undor Arttple IV,*I of the Plano the right of holders of Post-1975
          Chartered Organlzatlon *l,buse Claims to assert such Abuse Claimo agalnst such
          Entity;

                  c, tho rlghts of holders of AbuscClaims that.are not Post-1975 Chartered
          Orgarrlzation Abuse Claims to assert $uch ,.{hu,se Claims against any Limlted
          Pro:'teeted Party (unless such Limited Protected, Far,ty becornes a Protected Pady
          under articlewJ of the Plan);

                  f, the right of,,any Per$on to assert any Claitn, debt, obligation or lia'bility
          [o1 payruent of Settlsrnent Trust Expense$ solely agalnst the Settlement'Trust itt
          accord.ance wltlt tlte Settlement Trust Documents;

                     ,S.          the Settleme.n.t Trust from enf,orcing its rights under the Plart and the
          Settloment Trust Documontsl o.r

                 h, the. rightf of the Settlemolt Trust,to prosecute any action against any
          Non.settltng Insu,raice Company based on or arising l'rom Abuse fnsuruncePolieies
          thnt are not ttre subject of:an'Insurance, Settlement Agreement, suhject to fllry
          Insuranc.e C,overage Defenees'




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          B;elenses Iv tlle Dehtors and the Estate.s pf the &ileEpe4,PaIlt3s.
                                             .1. $                                    the Effectlve
Date,eeffectfi.omandaftertheEffcctiveDatetoenforce
the plan ana tne Contirmation Order, pur$uant to section I123(lr) of the Bankru$tcy Code,
for goorl antl valuable consideration, the edequacy of which is hereby conlirmed,.including
the iorvico of the, Released Partlcs to facllitate and implement the reorganiZatlon of the
 Debtors and the settlements embodied in the Plan, includlng the Ahuse Clalmr $ettlement,
 the JPM / Creditors, Conrmittec Settlcment, tho Hartforcl Insurance Settlement, and the
 TCJC Settlement, as an integral componertt of the Plau, the,Debtors, Beorgauized BSA, aud
 the Estates shall, and slrall i deemed to, expressly; conclusively, absolutely, unconditio.nally,
                               -n.



 irrevocably, and forever release and discharge each and all of the Released Parties of and
 from any and all Estate Causcs of Actlon that do not constitute Settlement Trust Causes of
 Actlon, any anfl all other Claims, Intercsts, obligatlons, rights, demands, sults, judgmentso
 damages, debts, romedies, Iossps and Iiabllities of an nature what-soever (including arty
 derivitivc claims or Causes of Action asserted or that may be asserted on behalf of the
Debtors, Reorganized BSA, or the Estates), whether liquidated or unliquidatedo llxed or
contingent, maiured or unmatured, known or unknowlt,I'oroseen or: unforcseen, cxisting or
trereinlfter arlsing, in larv, equlty, contract, tort, or otherwlse, based on or relating to, or in
any manner arising frorn: in whole or in pnrt, any act, omlssion, transaction, eYenl, or othcr
circumstancc takirig place or exlsting on-or before the Effective Date (ineluding before the
Petition Date) in connection with or retateil to the Debtors, the Estates, their respective assets
and properties, the Chapter I I Cases, the subject matter of or tho transactions or event$
giving rise to, any Claim of Interest that is treated by the Plnn, the,business or contractual
Irraigementi beiween gne or both of the Debtors antl any Released Parfy, the restructuring
of an/Claim or Intere$t that ls treated by the Plan before or during tlre Chapter           C.T*r:
nny of the Plan Document$, the JPM / Creditors' Contmlttee Settlernento the Hartford
                                                                                         ll
Iniurance Settlement, the TCJC Settlement, or any related agreements, lnstruments, and
other documents created or cntercd into belbr'e or during the Chapter lI. Cases or the
negotiation, formulation, preparation or irnplementation thereof, tlte pursuit of
Co}Urmation, the admintstratiojr an<t implementation oJ the Flan, the solicitation of votes
with respect io the Plan, the Distribution of property under the Plan, or any other act or
omissiOri transaCtion, agreement, event, or oiher o-ccuffence taking place on or betbre the
Effective-Date related'or-relating to tho foregoing. Notwlthstanding anything to the contrary
in the foregoing, the releases seiforth in Ar'ticlc X.J.I of the Plan shall not, and shall not be
c6nstrued ior (ii release any Releaseil Party from Causes of Actlon arising out ofi or rslated
to, any act or omission of a Releasert Party that is a crlminal act or that constltutes fraud,
gross negligence or willfll misconduct; orit ; release any post-Effective Date obllgatlons of
Iny ferriri"nder the Plan'Documents or any document, instrument, or agreement executed
to implement the PIan.

       Releases bv the Debtors and the Estates of Certaln Avoidaiic0 Acti0n$. As of the
pnocti                                              iion, tt'e adequac-y of which ls hereby
conlirmerl, inciudtng'ihe service of Creditors' Committee and lts members in their respective

                                                ll

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         244027                       Crcditor;                                            Votc Anrt: $ 1,00
     No:20"10343
Dcbtor: Boy Scouts of Ametica


OlmSchNo: 4'1856



cflpacities as srch in facilitating and implementing the reorganization of the Debtors, as an
in[egrat component of the Plan, the Debtors, Reorganized BSA, and the Estates shall, and
shall be deemed to, expressly, conclusively, absolutely, unconditionally, irrevocflbly, and
forever release and disehargc each and all holders of General Unsecured Claims, Non'Abuse
Litigation Claims, and Conienience Clairns of and from flny and all Avoidance Actions.

Article X.J.3 of the Plan-Releases bv Holders of Abuse Claims.

         As of the Effective Date, except for the rights that remain in elt'ect liom and alter the
Efl'cctive Date to enlbrce the Pian ard ttru Confiimation Order' pursuant to sectiort 1123(b)
of the Bankruptcy Code, for good and valualtle consideration, the adequacy ol'wlrich is
hereby couffrmed, including tlie service of the'Protected Parties and the Limtted Protected
 Partie$ to facilitate and implement the reorganizatiott of the Debtors, including thc
 scttlements cmbodicd in the i,lan, includtng the Abuse Claims Scttle,meut, as an integral
 component of the P)an, and' exccpt as otherwise expressly provided in the Plan or the
 Coniirmation Order, to the m&ximum extent permitted under applicable lawo a$ such law
 may be ertended subsequent to the Effective Date, all holders of Abuse Clalms shall, and
 stratl be degmed to, expressly, conclusively, absolutcly, unconditlonally, irrevocably, and
fCIr'ever discharge and release: (a) eech and all of tho Pr:otected Parties and their re$pestive
prqperty and successors and assigns of and from all                Clalms and any and all Claims
                                                           "-{buse
       Caus*r of Action whntsoe'v&, whether known or unk-nowx, asserted 0r unasserted'
"nO
derivative   or dlrect, foreseen or unforsseen, existing or hereinafter arising, in law,
                                                                                         $ult1, or
otherwise, whetherj for tort, fraud, contract, veil piercing or alter'ego theories of liability,
successor liability, contribution, indcmnification, joint liability, or otherwise, arising from or
related in any way to such Abuse Claims; and {b) each antt all of the Limlted Protected
P,arties and tiielr iespective property and succassors and assigns of and f'rom all Post-1975
Chartered Organization Abuse Claims and any and alt Cla'ims and Caures of Acfion
whatsoever, wiiether known or unknown, asscrtcd or uuasserted, dcrlvatlvo ot dlrect,
foreseen or unforeseen, existing or hereinnfter arislng, ln law, equity, or otherw-ise, rvhether
for tort, 1'raud, contract, veil piercing or alter.ego theories. of liabtlityr $uccessor liabillty,
contribution, indemnification, jolnt liability, or otherwlse, arising fi:om orrelated in yV wlJ
to such posi-tg?S Chortered Organlzation Abuse Claims; [L9.Yjd.gd, hpJfeve.l' that the
releases set forth in Article X.J;3*of Ure Plan shall no{, und shall not be construed to: (i)
release any Protert*O f,lA              lted Protected Party from CauSes of Actlon arising out
of; or related to, any act or omisslon of a Released Party that ls a crlminal act or that
constitutes fraud, grass negligence or wiitful misconduct;;(ii) release any port'Effective Date
obligations of any Person unaer the PIan Documents or any document, iRsftumenr, or'
agre-ement executed to implement the PIan; or (iii) rnodify, reduce, impair or otherwise affect
tf,e ability oll any holdei of an Abuse Claim to recover on account of such Claim in
accordance with Afticle II,I.8.10, or Arttcle I,II.F.,I.! of the Plan, as applicable.


Settlement Parties.



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     No: 20-l 0343
Debtor: IJoy Scouts of Ametica


CllnrSchNo: 41856



        In furtherance of, the Abuse Clairns Settlcment, as of the date that the Conflrmation
 Order and Affirmation Order becgme Final Orelers, except for the rights that reruain in
 .ft*ifrr* anO afier the Effective Date to enl'orce thc Plan, ihe Confirmation Order, and the
 terms of theTCJC SettlementAgreement,lsl good andvaluable conslderation, the adequecy
 of which is hereby confirnred, eich of the:Conlrib-uting Chartercd Organizations,dincluding
fCjc, shalt, and shall bc deemed to, expressly, conclu$ively, absolutely, unconditionally,
irrevocably, *nd f6rever release and discharge the Debtors, Reorganized BS4, the Related
Non-Dehtor Entitier, the Local councils, the other Protected Parties,T the Limited-Protected
paytiesos the Settling Insurance Companies, including Hartford, the Future Claimants'
Reprcslntative, the Loahtion, the Setllement Trust, and each of its and their rsspective
Reire.rentatives (collectively, ihe o'89!tlg&gg!-fgg!!gg"), of and f'rom any and all Clalms,
tnterests, obligations, righti, demands-zuits, jurlgments, damages, debts, remedieq.toyes
and liabiiitlur if urry natrie rvhatsoever (including any tlerivative claims of Causes of Actiott
asserted or that may be asserted on behalf of the Debtors, Reor:ganizetl BSA, or tte Estatos),
rvhether liquidated'or unliquidated, fixed or contingent, rnatured or uumaturedr known or
unknown, tOreseen or uilforeseen, oxisting or hereinafter arising, in law, quilY, coutract,
tort or otherrvise, based on or relating to, or in any manner arising from, in whole or in part'
any act, ontission, transaction, event, or other circumstance taking place or existing on or
before the date that the Confirrnation Order and Al'firrnation Order become Final Orders
ifr.f"Airg nuio** the Petition Date) in connection with or related to (i) Abuse Claimsr 0i) the
ihapter iI Cu*ur, (iii) the PIan, or (iv) any Claims relating to the Debtors or the Related


     ,,Contribu_ti$g__Clrfftelgil-gryan:izalig0s"
                                              lneaus tlre current or fortncr Chartcred Organizations listed on Eltribit D
    to rhe pla1, inoluding uny ef,u,'t..*a Organization made a I\'otcctcd Party undsr a Post'Effective f)ate Chartered
    Organization Settlemenf approverl by ile tsanknrptcy Coufi in accordancc with Articlc IV'I ol'the Plau' No
    poii"iputing Chartered organization"slrall be cousicleied a Contributing Chartered Organization based solcly on
    the participiting Charterel Orgauizatiol Instrrance Assigttntent, Without lnnitir:g the foregoing, subject to
    Confir1:atirln oIth. plun an<l aliploval of thc TCJC Sr:ttteinent Agreen:ent lry au order ol'the Bankruptcy Coutt
    (including in tlre Confirrnation bLder), TCJC is a Contributing Charrered Olganization and shall be dcsignated as
    such in the Conflnnation Order ald the Affir:rnation Order.
    .,protected paxfieq,,means the tbilorving Persons: (a)
                                                              the Debtors; (b). Ileorgafiized BSA; (c)-the.Related Nou-
    f:.frt"r f:,rrtftf"* ) the Local Councils;*(c) the Contributing Charteled Olganizations; ({) the Seitling Itrsurance
    Cornpanies, inctuciing Hartford; a,ra (g) all of such Perions' I(eprescntatives; provided, ltowcvcr, that no
    pe,pelr.ator:is or shall Le a protecied Partf, Notwitlrstandirrg tlre loregoirrg, a'Contlibuting Chartered organizatiolr
    shall be a protected n-ty *iitr rmpect to Abuse Claims only as set lbrtlr in the definition of "Abuse Clairl'"
    ,,Lrip.tit_ptl-_p_rp1cctqc1._Bg!tigs,,
                                      rneans the Participating Chartered orgartizations, whiclr nlealls a Clharteled
    og^rlr"ti." tfrrt J".-.       to) object to corrfinnation Jth" Plu,, or (b) infornr Debtors' counsel in writirrg on or
                              "nt
    be lore rhe cont'rrruario, ou:iii"iio.raline that it docs not rvish to nrikc the Participating Chartered.Organization
    Insurarrce Assignnlellt. Notwithstandiug the fbregoing, with respect to.auy chartered organizatiolr that isa debtor
    i,  bankmptcy as of thc Confirmation"Ilatc, suih dhalteLca blganizaiion shall bs a Participating Chartered
    Organizatiorr only ii. it advises Debtors' counsel in writing that it wishes to make the Participating Chartercd
    Organizatiou Insur.ance Assignrnent, and, tbr the avoida[cl of cloubt, absent such writlen advisetnent, nouc of
    s,ch clrar.tered Orgnniratioiri rights to oiunder the Abnse lnsnlance Policies strall bc subject to ths p6llicipating
    char(er.ctl o'ga,ization Insurarrce Assignnreut. A list ol' chartcred olgauizatiorts that are trot l)articipatittg
    Chartered Organizations is attached to the Plau a$ ruliUlK'


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     51s; lQ"l(|343
Debtor: lloy Scoul$ of Amelicil


ClnSchNo: 41856



Non.Debtor Entities that were or could have bcen as$crted by the Contributing Chartered
Organizations against the Settlernent Parties or any of them'

         In furtherance of the Abuse Claims Settlement, as of the date that the Confirmation
Order and Affrrmation Order becolne Final Ordcrs, except lbr the,rlghts that remain in.
effect from arrtl after theEffective.Dnte to enforce the Plan, the Conlirmation Order' ard the
terms 0f the TCJC Settlemerrt Agreement, for good and valuable considsration, the adequacy
of which ls hereby conflrmed, &ch of the Settlement Partles sh:all, and shall be deemed to,
expressly, concluiiyely, absoiutely, uncondltionallyl irrevocably, and foreWr rslease and
6iicharge each of the Con6i[uting Chartered Organizations, including TCJC, of and from
ury urdrt! Claims,Interests, obligations, rights, demartdsr-sults,iudgmentq damagel$tltl'
remedles,losses and liabilitles of iny nature what$oever, whether liquidated or unliquidated,
fixed or contingent, mntured or unmatured, known or unknown, f-or:eseen or unforeseen,
existing orher:einafier arlsingr ln law, equlty, contractr,tort or otherwlse, based on or relating
to, or in any manner a-risiug ljr,om, in whole or in part, aRy aet, omlssion, trflnsactionr eYe[t,
or othor circumstance takilg place or existing on or before the dlte that the
                                                                                    lgntiyaliln
Order anal Aftirnratlon Orrlir become Final Orders (lncludlng before the ?etition Date) in
connection with or related to (i) Abuse Claims, (ii) the Chapter 1-1 Casesr- (tit) the Plan, or
(iv) any Clalms relating to the liebtors or the Related Non-Debtor tlntities thatwere or could
t ro* L*.n assertsd iy thc Settlement Parties against the Contributing Chartered
Organizations or any of them.



       The releases of Settling Insurance Contpaniese and certaitr othcr parfics, and the
releases 5y Settling InsurancJ Cornpanies, each as set forth in tho Insurnncc Scttlcment
Agrecmcnis, including thc I{artford }nsurancc Scttluncnt Agreement, are incorporated by
reference as iffully set forth in the Plan.

Article X,K of the Plan*Exculpation.

       Irrom nnd alter the Effective f)ate, none of the Exculpated Partiesl0 shall have or
incur any liability to, or fue subject to any right of action by, any Ilerson ftrr any act, omission,

     ,,.1.c_1Llru_l_ruu!]gqc_ga$a!y,,   means, solcty wirh respect to Abuse Insurance_Policies that are thc subjcct of an
     I,suLarrce Settlelnent AgreEilent, nny inrurnir.. Company that contributcs.filnds, lrroceeds or otlter consideration
     to or tbr the benefit of the Settlenreit Tnrst pul'suiuit to an Insurauce Settlement Agreetnont that is approved hy
     (a) an ortler of the Bankruptcy Court (inclucling the Conflirrnation Older) aud is designatcd ari a Settling lns.urance
     Lo*puny in tho Confirrnation Order-or tlre Aifin:ration Order or (b) the Settlernent Trust. Without limiting the
     t*ag.iri, subjeci to C1:nfirmation of the Plau and approval of the Hartford lllstlrance Settlen:ent Agreenrent by
     an order of the Bankruptcy Coru.t (including in the Conhflnation Orrler), flarttlcni is a Settling Insurancc Compary
     anci shall be designafecl ai such in the Con{'irn:ation Or:dcr and tlre Afhrnration Ordcr'
     ,,Excrrlpated
                    lrarties" mearls, collectively, the following Persons: (a) the Debtors; (b) Reorganizcd BSA; (c) the
     Cr:editors, Cornrnittee; (d) ihe members of the Creditirs' commiitee irr their capacities as snch; (e) the Tort
     Claiurants, C)omnrittee; (t) the nrernbers of the Tort Cllaimants' Conttnittec in their capacities as such; (g) the
     Funu.e Clairnants, Represeutative; (h) the Creditor Repr0sentstive; and (i) all o1'such Persons' current ofllccrs

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transaction, &v€nt, or other circumstancc occurrlng on or before the Effective Date in
connection witho relating to or arising out of the Chapter Il Cases, the ncgotlatiott of thO
pla' Documeni$, ttre ifMlCreditofi' Committee Settlemont, the Hartf'or:d lrtsurance
Setileme.nt Agreemeut, the TCJC Settlelnent Agreement, the Releases and InJunctionr, the
pursuit of Coifirmation of the PIan, the administration, consummation and,implementfltiofi
,f tt * Plan or the property to be Disirtbuted under the PJan, or thO management or operation
ot'the Debtors (excedt roi any liability that results prlrnarily I'rom such Exculpated Partyrs
gross negligence, Iiad faith or willful nrisconduct). In atl^respeets, each And all such
E*.rfputiOlarties shall be entitled to rely-corinect ion adyi.ce o{ counsel with respect to their
                                               upon the
dfiiei anrl responsibilities under, or in                 with, the matters referenced y
                                                                                              1lt"
preceding sentence. Notwithstanding the foregoinq             ,any provision     the Plnn to the
                                                          3t
contrarylsidley shall not be an Excuipated Party with respect to any claims  -of   that Century
lnO"*riiy Conrpany asserts against $idley related to $itlleyrs repl'esentation of the Debtors
prior to tlre Petition Dnte.

Article X.L of the PlAn;*Inlurrctions Related to Rcleases ond E{quluati.o,$;

          Inilnction Related to Releaspp. As of the Effective Dnte, nll holders of Claims that
u,.tt,*nare,andsha[be,expressly,concIusively,absoIutely,
unconditionaUy, ffiGf,ly, and forever stayed, restrained, prohibited, barred and
 enjoined ti.om ialing:any of ihe following rctions against any Released Ptrty or its property
or"*o..u*rors or assifns Jn account.of or Sasedon thisubJect matter of such Claims, whether
 Air*.tfy or indirecti], derivatively or otherwlse: (a) commencing, condueting {It' continuing
in uny"*ui**n air'.&ty or indirectly, any suit, actloti or other proceeding (includlng any
judicial, arbitral, administrativa or oiher frocecrting) in any forum; (b) enforcing, attaching
ilncluding any prejudgment attachment), collecting, or il any way seeking to recover any
juag*eri, n*aia, d**i.., or other orderi (c) creating,-per:fecting ir1L,ty w3V en^torcing in
                                                                    9..
any"matter, direcily or inAirecUy, ary Lier or EncuRrbrancel and/or (d) setting off" seeking
                  or.ootritrotionr"iro*, or subrogation ag*inst, or otherwlse recouping tn ry.V
".i*tur***ent
;;;;.-,  dirr.tty or indirectly, any amount, igainst any liabtlity or obligation thaf is
discharged under Articte X.4 of tt. ftr,n or released uniler 3!gft!g$ of the Plan; provided'
rrr*nv*i.gr"t irr* irffiffi  set I'orth tn Article-X.I,r.1 of the PIan shntl not, irnd shall not be
con$trued to, enloiiany holder of a Ctaim thai is ttre subJQcj of Artlcle X.J of thc Plan from
taking any actlon arisiug out of, or related io, a"V act or o.,ittioiifffiilased Party that is
a criilinai act or tlat coistitutes fi:aud. gross negligence or willful misconduct'

         IniuncJio{r Related to Exeqlnatlon, As of the Eft'ec(ive Date, all. holders of Claims that
r,*tt,ure,andshallIre,expressly,conclusivoly,absolutely.,
unconditioiiatty, irffin and forevei stayed, restrained, prolribited, bamed nnd
enJoined fro-i*t ing ony of tt u lbltowing acfions against any Exculpated Party on account


    zmd dircctol.s, fixrncr officers arrd tlireotors w5o served in such capacity during ttrc pendency of thc Cltrapter I I
    Cases but are no longct'officcrs or ditectors as ol'the Ellbctivc Date, ernployees, volunteeLs' agents' attorllcys'
    fj,anc.ial advisor.s, accourltarlts, ilvestment bankers, consultants, representatives, aud otlrer proliessionals'


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Oasc No: 2il-10343

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ClurSchNo: 41 856



of or Sased on the subject mettw of suglr Claims, whether directly or indirectlyl ilertvatively
or otherwi$e: (a) coinmencing, conducting or continuing !I uoy m"-n19r: directly or
indirectly, any suit, actioil or othcr pioceeding (including any- judlcial, arliitral,
admlnisiratlve-or other proceedlng),ln ary forurn; (b) enforcing, attachlng (including any
prejudgment attachrnen$, coltectin*g., orin any way secking to recover 4nyiUdgment, oward,
A.*r".irr other orderi (ci creating,,p-erfecting or in any wny enforcing in afiy nratter, directly
or intlirectlyr fl1y f,ien'or Encumtiance; andlor (d)setting off, seeking reimburtement or
contrlbutioni fro*, or s'ubrogation agtlnst, or otherwise fecogping in any mxnn-eri dlrectl
or intlirectly, any 6mount ag;tnst any liaUttity or ou'ligation that is dischargcd under Article
X,E of Are ptan or releasel under-Artlcle X,J of the Plan; p5o1ided, however, thnt the
ffincttrnr set forth in Ar:tlcle X.L,hf'thp P n shall not, and shall not be construed.to,
eniolrranyPersontt,xi'ffiiArticleX.ItofthePIanfromtakinganyactionar:ising
out of, or related to, any act,or o*irri,il-iFffilpated Party that is a criminal act or that
constitutes fraud, gross negligence or willful misconduct.

IIgE-!, Certitlcations, Acknowledgmentl Signatur:e and Date'
       By signing this Ballot, the holder of the Class 8 Direct Abuse Claim (or authorized
signatoly;trsich f,older) aoknwledgos recoipt oftheDisclosure statement' the Plan' and the other
applicable solicitation nratedals, and eertifies that:

            (i)        it has the power and authority to vots to accept or reject the Plan,

            (ii)       it was the holder (or is entitlecl to vote on behalf of snch holder) of the Cllass 8
                       Dircct Abusc claim {escribed in Item 1 as of the voting Record Date ,

            (iii) it lras not submitted any other Ballots for olher Class 8 Direcl Abuse Claitns, or if
                       it has subrnittecl aly other Rallots with respect to suclt Claims, then any such
                       Ballots date earlier in timc are hercby revokcd,

            (iv) it acknowledges that a vote to accept the Plan constitutes an acceptance ofthe
                      treatment of such Entity as a holder of a Class 8 Claim.

            (v)       it undcrstands and, if accepting the Plan, agrees with the featmentprovided for its
                      Claim(s) under the Plan,

           (vi) it understands and acknowledges that if multiple Ballots are submitted voting the
                      Claim set forth in ltenr I , onlylhe last properly cornpleted Ballot voting the Clainr
                      ancl received by the Solicitatir:n Agent tefore the Voting Deadline shall be deemed
                      to reflect thc voter's intent and tirus to supersede and revoke any plior Ballots
                      received by the Solicitation Agetrt, and

           (vii) all authority conferred or agreed to be conferred pursuant to this Ballot' and every
                      obligatiorr of the undcrsifncd lrereunder, s]rall be bincling on the transferees'
                      SuCcBSS6rS, assignS, heirS,-eXecutol's, administrators, trUstees in bankruptcy' and


                                                       l6

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BtllotlD: 244027                              Cl cdiLor:                                              VoteAmt:$1.00
(iasc No: 20-t0341

De,btor: Boy Scouts o('Amsticit


ClnlschNor 41856



                        legal representatives c,f the undersignetl, and shall not bc affected by, and shall
                        su]ivive, the 4eath or incapacity of the undersigned. The undersigned understands
                        that an othenvise properly completerl, executed, and timely fetumed Ballot failing
                        to inclicate eithcr icceptanco or rcjection ofthe Plan, or indicating both acoeptance
                        and rejection of the Plan, lvill not be counted.


  Print or Type Nanre of Claimant:                  I
 Last Four Digits of Social Security
 Number of Claimaut:
                                                    I
 Birthdate of Claimant (MM/DD/YY):


 Signature:


 Name of Signatory (if different than
 Claimant):


 If by Author:ized Agent, Title of
 Agent:


 Street Address:


 City, Statc, Zip Codc:

 Tclcphone Number:                                 I
 Ernail Address:

                                                   11113121
 Date Completed:
                                                   -

          IF'THIS BALLOT IS NOT RECE,IYRD BY THE SOLICITATION AGENT
           oN oR BEFORE DBCEMBBR  - 14. 2Q21 AT 4i0Q P.M. ffiASTERIJ TIME),
                       YOUR VOTE WILL NOT BE COUNTED,


      Ballots must 6s delivered to the Soticitatlon Agen! Ja) via the elbctronlc Ballot
submission platform m trr. srii"itation Agent'swebsite(the *Wg!!g!.Pll4[lggl') byvisiting

                                                           t7

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BalkrtID: 244027                        Creditor:                                                Vetc Anrt: $1.00

    No:20-10343
     : Iloy Scouts of Anelica



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https:/lomniagentsolutions.com/hsa-SAballots, and following the lnstructions $et forth on the
weisite, or d) at the appropriate atldress listerl below, or in the enclosed enveloBq as
applicafile. iro *** higlily encouraged to submlt your Bflllot via the E-Baltot Platform, If
you ctroose to submit your-Ilatlot via:the .E-Bqllot Platform, you should NOT submlt a hard
copy Ballot. Please choose only one method for returning your Ballot'



    httpstl/omniagenlsolutions.corn/bsa-SAbnltots I        Uo, Scouts of America Ballot Processing
                                                    I             c/o Omni Agett Solutions
                                                               5955 De Soto Avenue, Suite 100
                                                                 Woodland Hills, CA

         To submit your Ballot via the E-Ballot Platlbrm, please visit
htt;ls:i/omniagentsolutions.com/bsa-SAballots and follorv the instructions to submit your
Ballot.

       The Solicitation Agent's E-Ballot Platform is the sole manner in which Ballots will be
accepted via electronic or*online transmissiotr. Ballots submitted by facsimile, entail or other
means r:f elcctronic transrnission will not be countcd. I{olders of Claims who cast a Ballot using
the E-Ballot Plattbrln should NOT also submit a paper Ballot.

        If you have quesfions about this Ballot, or if you did not receive access to a copy of the
PIan or any relatecl materials, please contact the Solicitation Agent by (a) calling the Debtors' toll-
fi.ec rcstructuring hotline at {e|-gOl-2721, (b) ernailing BsAballots(@ornnia8ntror:,        writing
                                                                                        .(.)
to Boy Scouts of America Ballot Processing, c/o Omni Agent Solutions, 5955 De Soto Avenue,
Suite j 00, Woodlanrl Hills, CA 91367 , or (d) subrnitting an inquiry on the Debtors' restructuring
website at https ://omni agentsolutions. corl/BSA.

     Infonnation nay also be obtained at https:i/omniagentsolutions.com/bsa-SAballots. THE
SOLICI'TATION aipilr IS Ng1 AUTHORIZED T0, AND WILL NOT, PRSVIDE
LBGAL ADVICE.

         Any adrnission of Cllainrs for purposes o1'voting ou the PIan is not an admission of liability
on the part of the Debtor:s or ally other party for payrnent pulposes'

                       IIISTRUqTIONS FOR COMPLETING YOUS BALLOT

       To properly cornplete this Ballot, you must follow lhe procedures described below, which
explain *ort, 6,1'tn. items contained on your Ballot. If you have atrY questions, please contact the
Solicitation Agcnt using the contact inlbi'nation provided abovc or: visit
https ://omniagentsol utions, com/bsa-SAball ots,

         l,        Use of Online Ballot Portal-If Submittlng Your Vote Through the ltr-Ballot
                   Platlbrm:


                                                    1B



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lsallotltrr 244027                        (lreditor;                                               vors Alnr: $1.00
Ciuo No: 20- I 0343
Deblor; Boy Sqouts o1 Anterica


ClnrSchNo: 4'1856



           The Solicitation Agelt will accept Ballots if properly completed through-the E-Ballot
platfornr, To suh;it your Ballot via the E-Ballot Platfonn, visit
https://omniagentsolutions.con:/bsa-sAballots          and fbllow the instructions to subrnit your Ballot.

        The Solicitation Agent's E-Ballot Plattbrm is tbe sole manner in which llallots will be
accgpted via online or eleJtronic submission. Ballots submitted by thcsirnils,         or other
                                                                               .email.
mean$ of electronic transmission will not bB counted. Creditors who cast a Ballot using the E-
Ballot I'latfonn should NOT also submit a paper tsallot.

           Use of l{ard Copy Ballot-If Submitting Your Vote Through Standard or Ovemight
Mail or Personal DeliverY:
       Sr"rbnit your completed ancl signecl Ballot by stanciarcl mail using the pre-addressed
envelope ipclgcleti i1 the Solicitation Paikage, or by overnight rnail or personal dolivery to:

                                 Boy Scouts of America Ballot Processing
                                       c/o Ornni Agent Solutions
                                    5955 De Soto Avenue, Suite I00
                                       Woodland l-lills, CA 91367

The Solicitation Agent rvill tabulafe all properly completed Ballots received on or belbre the
Voting Dcadline.

           2,TofilloutyourBallot,youmustcomplctethefollowiltg:

          a. Itcm I (Arnount of Clainr). Please note that, except as otherwise set
forthinthetlisclosuffiiicitatiouProceduresorder,eachf}irectAbuse
Clainr in Class g has bcen allowed in thc amount of $1.00 for voting pul poses only, and shall
not be bintllng upol the holtler of the Dlrect Abuse Clnim, the Debtors, the Settlemenf Tl'ust,
or any other party lbr any purpose othcr than voting on the PIan.

                      b. Item 2 (yote on the Plan). Cast one vote to accept or reject the PIan by
chccking the approprirt" b". ir. Irc* 2. You rntrst votc thc cntirc atnount of your Direct Abttsc
Clairn either to accept (i.e.,vote in favor of) or reject (/.e', vote against) the Plan and you may not
split yr:ur vote. Accoriinfty, any vote within a single Class that attenlpts partially to accept anrl
partially reiect the Plar: will nr:t be sounted.

                      c.If you holcl Clainrs in nrore than one class, you tnay receive more than one
Ballot or Solicitation Package, labelecl for a ditlelent class of Claims. Your vote will be counted
in dcteimining acceptance Ir rcjectiort of thc Plan by a particular class of Clairns only if yort
c,rmpt*t", sigi, and'retum the Ballot labeled lbr such class of Cllairns in accordance with the
instructions on that Ballot.

                      d.Ite4r3(E{pe4if9ll.Djqtr:ibutionElectio$).IfthePlanisconfirnred,ifyou
haveproper1y.o,,pl.tgaDirectAbuseClaimandfiled
                                                       19


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BallotlD: 244027                             Cre,lirr:r':f                                          vote Amt $l
Ciase No; 20" I 0343

Debtrlr: Iloy Scouts ollAtrelica


ClnrSchNo: 41856



such Claipr by the Bar Date or wel e permitted by a Final Order of the Bankruptcy Corllt to file a
late clairrr, yog nray elect in lten'r 3 to-rsceive an Expedited Distribution, which, as specilied in the
plan, is a-one-tiltle Caslr payment liom the Settlentent Trust in the amount of $3,500.00
coniiiloned upcln satisfaction of tlrc criteria set t'ortlr in the Tr"Lrst Distribution Procedures, itt
exchalge for u full ancl final release in fbvor o1 the Settlement Trust, the Pt'otected Parties, and thc
Charterid Organizations. The Settlement'Ilrust shall rnake the Expedited Distributions on one or
nrore datcs occurring on or as soon as reasonably practicable after the latest to occur oll (a) the
Effective Date or ftlthe date the applicable holders of Direct Abuse Claims who have elccted to
receive an Expedited Distribution-liave satist'icd thc oritcria sct fbrth in the Trust Distribution
procednres, and (c) the date upon which the Settlement Trust has sul'llcicnt Clash to l'und the full
amount of thc Expcditecl Distributions while retaining su{llcient Cash reserves to fund applioablc
Settlement Trust ixpenses, as determinecl by the Settlement Trustee. This electiotr Lnust be tnado
in ltem 3 on a properly and timely complctcd and delivcred Ballot.

     IF SBLBCTING THE $3,500 OPTION, YOU MUST INDICATB'I'HIS ON THIS
tsALLOT. YOU WILL NOT BE ABLB TO CHOOSE THIS OPTION AT A LATBII DATE
UNLBSS T}IE COURT APPROVES OTIIERWISE.

                       e.
                        Item ,4, (Refeascs), Pursuant to Article X of the Plan, the Debtors seek
approval of the releas* f"*irio,.t.t fortt in Ariicle X.J,4 of the Plan and provided above' I"Iolders
oi"Direct Abuse Clair:is who vote to accept or reject the Plan may opt out of this release by
checking the box in Iterl4,


 Ir THE PLAN BECOMES AFTECTIYS, AS ,A HOLDER OF A DIRECT ABUSE
 CLAIIyI UN,DER TIIBpLAN, IF YOU VCirre TO ACCEPT OR REJICT THE PLAN
 YOU ARE DIEMED 1'O PROVIDE T}IE RELT]ASES CONTAINED IN A]RT[CLP'X"I.4
 or rIIn PLAN, AS SET FORTH ABOVE, UNLESS YOU CHECK'THE BOX IN ITEM 4
 TO OPT OUT OT'THE RELEASES.



c1aimant,tt,*,ffiiesentative,ortheclainrant,sattorneymuStsigntheBallot.
tf th" Builot is not signed, the vote showtl on the Ballot will not be cotrnted'

       g. Claimants with Social Security Nuntbers nlust provide the last fbirr digits of their
Social Security Nttmber ir: Item 4 of the Ballot.

           h.          The claimant, the clailnant's pelsonal representative, or the claimantos attortey,
rnust certify cerrain information on the Ballot. Please rea,l tlr" certifications below and ensure that
the infornration on the Ballot nreets the requirements of tltose ceftificatiotts'

           i,          Ry signing tho Ballot, you rnake the following certifications on infontration ancl
beliefi



                                                       2A


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     :Boy Scouts o1'America




                   (i)        I have the power ancl authority to vote to accept or reject the Plan,

                   (ii)       I anr the holder (or am enti(led to vote on behalf of such hoklcr) of thc Direct
                              Abuse Claim dcscribed in Itenr I as of the Voting Record Date,

                   (iii) I have not submitted any other llallots I'or other Class 8 Direct Abuse
                              Claims, or'if I have subnritted any other Ballots with r:espect to such Claims,
                              thcn any such Ballots tlate earlier in tirnc are hereby revokecl,

                   (iv) I acl<nowledge that a vote to accept the Plan constitutes an accsptance of the
                              treatment of my Claim as a Class 8 Claim,

                   (v)        I understanci ancl, if accepting the Plan, agrce with tbc trcatment provided
                              fbr my Claim(s) under the Plan,

                   (vi) I understand and acknowleclge that if multiplc Ballots are subntitted votir:rg
                              the Clairn set forth in Item l, only the last properly completed Ballot voting
                              the Clain ancl reccived by the Solicitation Agent before the Voting Deadline
                              shall be cleerned to reflect the voter's interlt and thus to sr4rersede and revoke
                              any prior Ballots receivecl by the Solicitation Agent, and

                  (vii) all authority conferred or agreed to be conf'erred pursuant to.this-Ballot, and
                              evely obligation of the undersigned hereundcr, shall bc binding on tirc
                              tranifcrccs, Successols. aSsigns, heirs, cxCCutors, adrninistratols, trustees in
                              bankt'uptcy, and legal rcprcsentalives ofthe undersigned. and sirall not be
                              affected by, and shall survive, the death or incapacity of the trndersigned.
                              ll'he unclersignecl unclerstands that an otherwise properly ccrntpleted,
                              executed, and tirnely returned Ballot failing to indicate either acceptance or
                              rejection ofthe P1an, or: indicating both acceptance and rejection of the Plan,
                              will not be counted,

        3,        Other Instructions for Completing the Ballots:

                  a.          The Ballot does not colstitute, anc{ shall not be deet'tred to be. a Proof of
Clairu or Interest or an assertion or admission of a Clairn or Intet'est.

                  b.    The Ballot is nr:t a Ietter of transmittal aud may not be used for any purpose
other than to vote to accept or reject the Plan'

                  c.          If you subrnit ntorc than one Ballot voting the sanre 9l"llrr. prior to the
Voting Dcadline, thc latcst rcceived, propcrly execnted Ballot,subrnitted to the Solicitation Agent
and re-ceived by the Solicitation Agent before the Voting Deadline will snpersede and tevoke any
prior Ballot.




                                                        2L


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Casc No: 20-10343
Debtol Buy Scouts ollAmerica


ChuSohNo:




                     d.  11'rnore tharr one Ballot is received from the holder of a l)irect Abuse Claim
entitled ro vote and fi.om an attomey pulpoiling to represent such holder (including in accordance
with procednres related to Master Ballots) prior to the Voting Deadline, the Ballot received fi:om
the holder of the Dir:ect Abuse clainr entitled to vote will be counted.

                    e.To the extent you have receivecl fwo (2) or more duplicative Ballots on
account of the sarne Direct Abuse Clairn, please note that each claimant is authorizedto subrnit
only one Ballot on account of such Claim,

                    f. ln the event rhat (a) the Debtors revoke or withdraw the PIan, or (b) the
Confit:nation Orcler is not cntcrcd or consumuration of tlie Plan does not occul', this Ballot shall
automatically be null and void and deemed rvithdrawn without any requircmettt of affirmative
action by or uotice to you.

                    g,    There may be changes made to the Plan that do not cause material adverse
effects n,', r,, ui.pting Ctass. If such non-uraterial chzingcs are madc to tltc Plan, thc Dcbtors will
not resolicit votes fr:r acceptance or rejection of the Plan,

 NO PERSON HAS BEEN AUTUOruZED TO GIVE ANY INFORMATION OR
 ADVTCB, OR TO MAKE ANv RmPRESENTATION, OTIIER TI{AN WIIAT IS
 CONTAINED IN THN MATERIALS INCLUNED WITIT THIS BALI,OT OR OTHER
 MATER.IALS AUTHORIZED BY THE BANKRUPTCY COURT.

 IFYOUHAVEANYQUESTTONSREGARDINGTHABAI,TOT,DIDNOTRECEIVf,
 INSTRUCTIONS RECARDING ACEESSING I'Hf, DISCLOSURE STATEM}']fi1I] OR
 piAr{, RECEtVtrD A DAMA6f,D BALLOT OR HAV.E LOST YOUR BaLLoT, oR
 NESD ADDITIONAL COTIES OF TIIE BATLOT OR OTHEN ENCLOSOD
 MATERIALS, PLEASE CONTACT THE SOLTCITATION AGEN'I'AT:

 TELEPHONE: 866-907-2721
 EMAILT   BSAballots@omni*gnt,com
 ADDRESS: Boy Scouts of Amerlca Ballot Proccssingo c/o Omni Agent Solutions,
                               S955 oe,$oto Avenue, Su.lte l00r Woodland Hllts, CA:9{,367
 WEBSITE:                      httpsr//iimniagentsolutions.com/BSA




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                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF DELAWARE


    In re:                                                   Chapter 1l

 BOY SCOUTS OF AMERICA AND                                   Case No. 20-10343 (LSS)
 DELAWARE BSA, LLC,I
                                                             (Jointly Administered)
                            Debtors.



      MODIFIED FIFTH AMENDED CHAPTER 1I PLAN OF REORGANIZATION FOR
              BOY SCOUTS OF AMERICA AND DELAWARE BSA. LLC

WHITE & CASE LLP                                          MORzuS, NICHOLS, ARSHT & TLINNELL LLP
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l22l Avenue of the Americas                               Andrew R. Remming O.to. 5120)
New York, New York 10020                                  Paige N. Topper (l.,lo. 6470)
Telephone: (212) 819-8200                                 1201 North Market Street, l6th Floor
Email: jessica.lauria@whitecase.com                       P.O. Box 1347
                                                          Wilmington, Delaware | 9 899 - I 3 47
-and-                                                     Telephone: (302) 658-9200
                                                          Email : dabbott(@morrisni chols.com
WHITE & CASE LLP                                                  arernming@mon isnichol s. com
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        bl air.wamer@whitecase. com


Attorneys for the Debtors and Debtors in Possession

Dated: September 30, 2021
       Wilmington, Delaware



I      The Debtors in these chapter 1 I cascs, together u,ith the last four digits of each Debtor's federal tax
       identiflcation number, are as follou,s: Boy Scouts of America (6300); and Delaware BSA, LLC (43 l1). The
       Debtors' mailing address is 1325 W. Walnut Hill Ln., Irving, TX 75038.
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     Clairn, its Pro Rata Share of the Core Value Cash Pool up to the full amount of
     such Allowed General Unsecured Claim in the manner described in Article VII.

               c.     Voting: Class 6 is hnpaired, and each holder of a General
     Unsecured Claim is entitled to vote to accept or reject the Plan.

     9.        Class 7 * Non-Abusc Litigation Claints.

               a.     Classification: Class 7 consists of all Non-Abuse I-itigation
     Claims.

             b, IfgAUqqU: Except to the extent thal a holder of an Allowed Non-
     Abuse Litigation Claim agrees to less favorable treatment of such Claim, in full
     and final satisfaction, settlement, release, and discharge of, and in exchange for,
     each Allowed Non-Abuse Litigation Claim, each holder thereof shall, subject to
     (i) the holder's ability to elect Convenience Claim treatment as provided in the
     following sentence and (ii) the tetms and conditions of Article IV.D.3 (as
     applicable), retain the right to recover up to the atnount of such holder's Allowed
     Non-Abuse Litigation Claim from (x) available insurance coverage or the
     proceeds of any Insurance Policy, including any Abuse Insurance Policy or Non-
     Abuse Insurance Policy, (y) applicable proceeds of any lnsurance Settlement
     Agreements, and (z) co-liable non-debtors (if any) or their inswance coverage,
     Solely to the extent that the holder of an Allowed Non-Abuse Litigation Clairn
     fails to recover in full from the foregoing sources on account of such Allowed
     Claim after exhausting its remedies in respect thereof, such holder nray elect to
     have the unsatisfied porlion of its Allowed Clairn treated as an Allowed
     Convenience Claim and receive cash in an amount equal to the lesser of (a) the
     amount of the unsatisfied portion of the Allowed Non-Abuse Litigation Claim and
     (b) $5o,ooo,

               c.     Voting: Class 7 is lmpaired, and each holder of a Non-Abuse
     Litigation Claim is entitled to vote to accept or reject the Plan.

     10. Class 8 - Direct Abuse Claims.
         a. Classification: Class 8 consists of all Direct Abuse Claims.
         b. Treatment:
                 (i) The Settlement Trust shall receive, for the benefit of
               holders of Abuse Claims, the BSA Settlement Trust Contribution, the
               Local Council Settlement Contribution, the Contributing Chartered
               Organization Settlement Contribution, the Panicipating Chartered
               Organization Settlement Contribution, the Hartford Settlement
            Contribution (subject to the terms and conditions set forth in the Harlford
            lnsurance Setllement Agreement), and the proceeds of any other
            applicable Insurance Settlement Agreements. In addition, each holder of a
            properly completed non-duplicative proof of claim asserting a Direct


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            Abuse claim who filed such clairn by the Bar Date or was pennitted by a
            Final order of the Bankruptcy court to file a late claim may elect on his or
           her Ballot to receive an Expedited Distribution, subject to criteria set fonh
            in the Trust Distribution Procedures, in exchange for providing a full and
           final release in favor of the Settlement Trust, the protected parties and the
           chartered organizations. The Settlement Trust shall make the Expedited
           Distributions on one or more dates occuring on or as soon as reasonably
           practicable after the latest to occur of (a) the Effective Date, (b) the date
           the applicable holders of Direct Abuse claims who have elected to receive
           an Expedited Distribution have satisfied the criteria set forth in the Trust
           Distribution Procedures, and (c) the date upon which the settlement Trust
           has sufficient cash to fund the full amount of the Expedited Distributions
           while retaining sufficient cash reserves to fund applicable Settlement
           Trust Expenses, as determined by the Settlement Trustee.

                  (ii)     As of the Effective Date, the protected parties' liabiliry for
           all Direct Abuse claims shall be assumed in full by the Sertlement Trust
          without further act, deed, or court order and shall be satisfied solely from
           the Settlement Trust as set forth in the Settlement Trust Documents.
          Pursuant to the Channeling Injunction set forth in Article X.F, each holder
          of a Direct Abuse claim shall have such holder's Direct Abuse claim
          against the Protected Parties (and each of them) permanently channeled to
          the settlement Trust, and such Direct Abuse claim shall thereafter be
          asserted exclusively against the Settlement Trust and processed,
          liquidated, and paid in accordance with the terms, provisions, and
          procedures of the settlement Trust Documents. Holders of Direct Abuse
          claims shall be enjoined from prosecuting any outstanding, or filing any
          future, litigation, claims, or causes of Action arising out of or related to
          such Direct Abuse claims against any of the Protecte<l parties and may not
          proceed in any manner against any of the Protected parties in any forurn
          whatsoever, including any state, federal, or non-U.S. court or any
          administrative or arbitral fomrn, and are required to pursue such Direct
          Abuse clairns solely against the Settlement Trust as provided in tlie
          Settlement Trust Documents.

                   (iii) As of the Effective Date, the Limited protected parties'
          liability for all Post-1975 chartered organization Abuse claims shall be
          assumed in full by the Settlernent Trust without further act, deed, or court
          order and shall be satisfied solely from the Settlement Trust as set forlh in
          the Settlement Trust Documents. Pursuant to the Channeling Injunction
          set fonh in A$rrle- x.F. each holder of a post-1975 chartered
          organization Abuse claim shall have such holder's post-1975 chartered
          organization Abuse claim against the Limited Protected parties (and each
          of them) permanently channeled to the Settlement Trust, and such post-
          1975 chartered organization Abuse clairn shall thereafter be asserted
          exclusively against the Settlement Trust and processed, liquidated, and
          paid in accordance with the terms, provisions, and procedures of the


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                                         IN THE UNIT&D STATDS BANKRUTTCY COUITT
                                              FOR T}Itr DISTRTCT OF DELAWAIIE



                In re:                                                            Chaptcr 11

               BOY SCOUTS OF AMERICA AND                                          Case No, 20-10343 (LSS)
               DDLAWARE I]SA, LLC,I
                                                                                  (Jointly AcLuinisteled)
                                             I)ebtors,



                                  goyER PAGE rOR AMENDM&NTS OII S-UPPITEMENTS
                                  TO THE SEXUAL ABUSE SUITYIVOR PROOF'OF CLAIM


    l'o;          0mni Agent Solutions

    IrttoM:

     First ancl Last Name:

     Ycar of Birth;
     Nuurber an,<l Strcet;

     City:        E                                               I Draro: lI                          I zrp u'a$:
     Ct:untry (uut LISA):                                           Hnrnil Acldrcss:

     Tclcphonc (I"lorne):                                          Teleplrone (Cell):



   DATII]:


   CLAIM NUMBOII,: 41856                                                                                -
   (if ynu have it)

                                                                                                        -
   INTERNAL CLAIM OR CLIttN:t IDIINT'Irl]IR; 8019832
   (if applicablc)




   Notes (il any):

   Council added, updated address, years involved in Scouts, the location of abuse and minor edits.




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                                                                                             RA Internal <rox@dandell,com>



Broy scouts of America claim upload confirmation
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Omni Agent $olutions <documenisend@omniag nt'com>                                               Mon, Jul 31,2023 at 11:05AM
To: claimfiling@dandell'com




              Your SexualAbuse Survivor Proof of Claim in the matter of Boy Scouts of Anrerica (Case #
              20-10343) has been successfully submitted'

              Claim ldentifier: 8019832
              you will receive a second email with your claim number within seven (7) calendar days'

              As the designated claims agent in this nratter, OmniAgent Solutions is responsible f9.r
                                                                                                          ^
              maintaining the official couri Aoctet. Pursuant to the B"ar Date Order [Docket No' 605], Sexual
              Abuse Survivor Proofs of Claim will not be available to the public on the coutl docket unless
              Vo, f.'1ru* elected on you1. afuin,1 foi, to publicly release your identity and your SexualAbuse
              Survivor Proof of Claim.

             lf you or someone you know did not initiate this claim submittal, or if you have questions
             about the handling or processing of your claim, you should contact us at
             coniactft)r:mrriagnt,com,

             Click here to submit another claim.



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